Case 23-05030-jwc       Doc 6     Filed 05/22/23 Entered 05/22/23 14:46:10          Desc Main
                                  Document      Page 1 of 9



                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                    )
                                          ) CASE NO. 22-54243-jwc
DORSEY LEON HAMMOND,                      )
                                          )
      Debtor                              ) CHAPTER 7
                                          )
------------------------------------------------------------------
                                          )
DLP LENDING FUND, LLC,                    )
                                          ) ADVERSARY PROCEEDING
      Plaintiff,                          ) NO. 23-05030
                                          )
v.                                        )
                                          )
DORSEY LEON HAMMOND                       )
                                          )
      Defendant                           )
_________________________________________ )

ANSWER AND DEFENSES TO COMPLAINT TP DETERMINE WHETHER DEBTOR
    IS ENTITLED TO A DISCHARGE AND DISCHAREABILITY OF DEBTS

         COMES NOW Dorsey Leon Hammond, Debtor and Defendant herein (“Defendant”), and

pursuant submits his answer and defenses to the Complaint to Determine Whether Debtor is

Entitled to a Discharge and Dischargeability of Debts (the “Complaint”) filed by DLP Lending

Funds, LLC (“Plaintiff”), showing as follows:

                                        First Defense
                                    (Responsive Pleadings)

                                    Jurisdiction and Venue

         1.    In response to Paragraph 1 of the Complaint, Defendant admits that the Court has

jurisdiction of this action and that it is pending in connection with a bankruptcy case commenced

by Defendant. Except as admitted herein, Defendant denies the remaining allegations of the first

sentence of Paragraph 1 of the Complaint.
Case 23-05030-jwc        Doc 6     Filed 05/22/23 Entered 05/22/23 14:46:10            Desc Main
                                   Document      Page 2 of 9



       2.      Defendant admits the allegations of Paragraph 2 of the Complaint.

       3.      Defendant admits the allegations of Paragraph 3 of the Complaint.

                                               Parties

       4.      Defendant is without information sufficient to form a belief as to the truth of the

allegations of Paragraph 4 of the Complaint.

       5.      Defendant admits the allegations of Paragraph 5 of the Complaint.

       6.      Defendant is without information sufficient to form a belief as to the truth of the

allegations of Paragraph 6 of the Complaint.

       7.      Defendant admits that Flourish Home Investors, LLC (“Flourish”) was a party to

Purchase and Sale Agreements with 230 Goshen Investment Group, LLC (“Goshen”). Except as

admitted herein, Defendant is without information sufficient to form a belief as to the truth of the

allegations of Paragraph 7 of the Complaint.

       8.      Defendant admits the allegations of Paragraph 8 of the Complaint.

       9.      Defendant admits that Flourish executed ten (10) Security Deeds in favor of

Plaintiff. Except as admitted herein, Defendant is without information sufficient to form a belief

as to the truth of the allegations of Paragraph 9 of the Complaint.

       10.     Defendant admits that Flourish executed ten (10) Notes in favor of Plaintiff and the

Defendant executed guaranties of the Notes. Except as admitted herein, Defendant is without

information sufficient to form a belief as to the truth of the allegations of Paragraph 10 of the

Complaint.

       11.     Defendant is without information sufficient to form a belief as to the truth of the

allegations of Paragraph 11 of the Complaint.




                                                 2
Case 23-05030-jwc        Doc 6     Filed 05/22/23 Entered 05/22/23 14:46:10             Desc Main
                                   Document      Page 3 of 9



       12.     Defendant is without information sufficient to form a belief as to the truth of the

allegations of Paragraph 12 of the Complaint.

       13.     Defendant is without information sufficient to form a belief as to the truth of the

allegations of Paragraph 13 of the Complaint.

       14.     Defendant denies the allegations of Paragraph 14 of the Complaint.

       15.     Defendant admits that Flourish defaulted on the Notes and Defendant has not paid

Plaintiff on account of the guaranties. Except as admitted herein, Defendant is without information

sufficient to form a belief as to the truth of the allegations of Paragraph 15 of the Complaint.

       16.     Defendant admits the allegations of Paragraph 16 of the Complaint.

       17.     Defendant admits the allegations of Paragraph 17 of the Complaint.

       18.     Defendant admits the allegations of Paragraph 18 of the Complaint.

       19.     Defendant admits the allegations of Paragraph 19 of the Complaint.

       20.     Defendant admits the allegations of Paragraph 20 of the Complaint.

       21.     Defendant admits the allegations of Paragraph 21 of the Complaint.

       22.     Defendant admits the allegations of Paragraph 22 of the Complaint.

       23.     Defendant admits the allegations of Paragraph 23 of the Complaint.

       24.     Defendant admits the allegations of Paragraph 24 of the Complaint.

       25.     Defendant admits the allegations of Paragraph 25 of the Complaint.

       26.     Defendant admits the allegations of Paragraph 26 of the Complaint.

       27.     Defendant admits indebtedness to Plaintiff. Except as admitted herein, Defendant

is without information sufficient to form a belief as to the truth of the allegations of Paragraph 27

of the Complaint.

       28.     Defendant denies the allegations of Paragraph 28 of the Complaint.



                                                 3
Case 23-05030-jwc         Doc 6    Filed 05/22/23 Entered 05/22/23 14:46:10            Desc Main
                                   Document      Page 4 of 9



       29.      Defendant denies the allegations of Paragraph 29 of the Complaint.

       30.      Defendant denies the allegations of Paragraph 30 of the Complaint.

       31.      Defendant denies the allegations of Paragraph 31 of the Complaint.

       32.      Defendant denies the allegations of Paragraph 32 of the Complaint.

       33.      Defendant denies the allegations of Paragraph 33 of the Complaint.

       34.      Defendant denies the allegations of Paragraph 34 of the Complaint.

       35.      Defendant denies the allegations of Paragraph 35 of the Complaint.

                         Entitlement to Discharge or to Discharge Debt

       36.      The first sentence of Paragraph 36 of the Complaint does not allege facts to which

Defendant must admit or deny. Defendant denies the allegations of the second and third sentences

of Paragraph 36 of the Complaint.

       37.      Defendant admits indebtedness to Plaintiff, but is without information sufficient to

form a belief as to the truth of the remaining allegations of the first sentence of Paragraph 37 of

the Complaint. Defendant denies the allegations of the second and third sentences of Paragraph 37

of the Complaint.

                                          Count I
    Action to Deny Dischargeability of Plaintiff’s Debt Pursuant to 11 U.S.C. § 523(a)(2)

       38.      Defendant incorporates his response to Paragraphs 1 through 37 as through set forth

fully herein.

       39.      Defendant denies the allegations of Paragraph 39 of the Complaint.

       40.      Defendant denies the allegations of Paragraph 40 of the Complaint.

       41.      Defendant denies the allegations of Paragraph 41 of the Complaint.

       42.      Defendant denies the allegations of Paragraph 42 of the Complaint.

       43.      Defendant denies the allegations of Paragraph 43 of the Complaint.


                                                 4
Case 23-05030-jwc        Doc 6     Filed 05/22/23 Entered 05/22/23 14:46:10           Desc Main
                                   Document      Page 5 of 9



       44.      Defendant denies the allegations of Paragraph 44 of the Complaint.

       45.      Defendant denies the allegations of Paragraph 45 of the Complaint.

       46.      Defendant denies the allegations of Paragraph 46 of the Complaint.

       47.      Defendant denies the allegations of Paragraph 47 of the Complaint.

       48.      Defendant denies the allegations of Paragraph 48 of the Complaint.

       49.      Defendant denies the allegations of Paragraph 49 of the Complaint.

       50.      Defendant denies the allegations of Paragraph 50 of the Complaint.

       51.      Defendant denies the allegations of Paragraph 51 of the Complaint.

       52.      Defendant denies the allegations of Paragraph 52 of the Complaint.

       53.      Defendant denies the allegations of Paragraph 53 of the Complaint.

       54.      Defendant denies the allegations of Paragraph 54 of the Complaint.

       55.      Defendant denies the allegations of Paragraph 55 of the Complaint.

       56.      Defendant denies the allegations of Paragraph 56 of the Complaint.

       57.      Defendant denies the allegations of Paragraph 57 of the Complaint.

       58.      Defendant denies the allegations of Paragraph 58 of the Complaint.

       59.      Defendant denies the allegations of Paragraph 59 of the Complaint.

                                         Count II
    Action to Deny Dischargeability of Plaintiff’s Debt Pursuant to 11 U.S.C. § 523(a)(6)

       60.      Defendant incorporates his response to Paragraphs 1 through 59 as through set forth

fully herein.

       61.      Defendant denies the allegations of Paragraph 61 of the Complaint.

       62.      Defendant denies the allegations of Paragraph 62 of the Complaint.

       63.      Defendant denies the allegations of Paragraph 63 of the Complaint.

       64.      Defendant denies the allegations of Paragraph 64 of the Complaint.


                                                 5
Case 23-05030-jwc         Doc 6     Filed 05/22/23 Entered 05/22/23 14:46:10           Desc Main
                                    Document      Page 6 of 9



                                      Count III
Action to Deny Debtor’s Discharge under § 727(a)(2)(A) Removing or Concealing Property
               Which Otherwise Would Have Been Available to Pay Debts

       65.       Defendant incorporates his response to Paragraphs 1 through 64 as through set forth

fully herein.

       66.       Defendant denies the allegations of Paragraph 66 of the Complaint.

       67.       Defendant denies the allegations of Paragraph 67 of the Complaint.

       68.       Defendant denies the allegations of Paragraph 68 of the Complaint.

       69.       Defendant denies the allegations of Paragraph 69 of the Complaint.

       70.       Defendant denies the allegations of Paragraph 70 of the Complaint.

       71.       Defendant denies the allegations of Paragraph 71 of the Complaint.

       72.       Defendant denies the allegations of Paragraph 72 of the Complaint.

       73.       Defendant denies the allegations of Paragraph 73 of the Complaint.

       74.       Defendant denies the allegations of Paragraph 74 of the Complaint.

       75.       Defendant denies the allegations of Paragraph 75 of the Complaint.

                                            Count IV
                Action to Deny Debtor’s Discharge under § 727(a)(4) for Failure to
                                   Keep or Preserve Records

       76.       Defendant incorporates his response to Paragraphs 1 through 75 as through set forth

fully herein.

       77.       Defendant denies the allegations of Paragraph 77 of the Complaint.

       78.       Defendant denies the allegations of Paragraph 78 of the Complaint.

       79.       Defendant denies the allegations of Paragraph 79 of the Complaint.

       80.       Defendant denies the allegations of Paragraph 80 of the Complaint.




                                                  6
Case 23-05030-jwc         Doc 6     Filed 05/22/23 Entered 05/22/23 14:46:10           Desc Main
                                    Document      Page 7 of 9



                                            Count V
                Action to Deny Debtor’s Discharge under § 727(a)(4) for Failure to
                               Explain Loss of Assets to Pay Debts

       81.       Defendant incorporates his response to Paragraphs 1 through 80 as through set forth

fully herein.

       82.       Defendant denies the allegations of Paragraph 82 of the Complaint.

       83.       Defendant denies the allegations of Paragraph 83 of the Complaint.

                                            Count VI
                                       Reservation of Rights

       84.       Defendant incorporates his response to Paragraphs 1 through 84 as through set forth

fully herein.

       85.       Paragraph 85 of the Complaint does not allege facts to which Defendant must admit

or deny. Defendant expressly denies that Plaintiff has any rights to amend its Complaint to assert

new claims or has the right to assert any claims otherwise available to the bankruptcy estate.

                                          General Denial

       Any allegation not expressly admitted is denied.

                                           First Defense

       The Complaint fails to state a claim upon which relief may be granted under any theory

arising in, arising under, based upon, or otherwise relying in any way upon Husky International

Electronics, Inc. v. Daniel Lee Ritz, 136 S. Ct. 1581 (2016).

                                          Second Defense

       The Complaint fails to state a claim for relief under 11 U.S.C. § 523(a)(6).

                                           Third Defense

       The Complaint fails to state a claim for relief under 11 U.S.C. § 727(a)(2).




                                                  7
Case 23-05030-jwc           Doc 6   Filed 05/22/23 Entered 05/22/23 14:46:10           Desc Main
                                    Document      Page 8 of 9



                                          Fourth Defense

         The Complaint fails to identify with the alleged income producing assets upon which

Plaintiff asserts its claim for relief under 11 U.S.C. § 727(a)(2).

                                           Fifth Defense

         The Complaint fails to state a claim for relief under 11 U.S.C. § 727(a)(2) with respect

to the any alleged concealment or disposition of assets of Flourish or any other non-debtor

party.

                                           Sixth Defense

         The Complaint fails to state a claim for relief under 11 U.S.C. §§ 727(a)(3) and (a)(5).

                                          Seventh Defense

         The Complaint fails to allege fraud with particularity.

         WHEREFORE, Defendant requests that the Court enter judgment in favor of Defendant

and against Plaintiff on all claims alleged in the Complaint, and that the Court grant such other

relief as is appropriate.

Dated: May 22, 2023

                                                       LAMBERTH, CIFELLI,
                                                       ELLIS & NASON, P.A.
                                                       Attorneys for Defendant

                                                       By: /s/ G. Frank Nason, IV
                                                              G. Frank Nason, IV
                                                              Georgia Bar No. 535160


6000 Lake Forrest Drive, NW
Suite 435
Atlanta, Georgia 30328
(404) 262-7373
(404) 262-9911 (facsimile)




                                                  8
Case 23-05030-jwc       Doc 6    Filed 05/22/23 Entered 05/22/23 14:46:10         Desc Main
                                 Document      Page 9 of 9




                                    Certificate of Service


       This is to certify that I have on this day electronically filed the foregoing Answer and
Defenses to Complaint to Determine Whether Debtor is Entitled to a Discharge and
Dischargeability of Debts to using the Bankruptcy Court’s Electronic Case Filing program, which
sends a notice of this document and an accompanying link to this document to the parties who
have appeared in this case under the Bankruptcy Court’s Electronic Case Filing program.



       This 22nd day of May 2023

                                                   /s/ G. Frank Nason, IV
                                                   G. Frank Nason, IV
6000 Lake Forrest Drive, NW
Suite 435
Atlanta, Georgia 30328
(404) 262-7373
